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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


LONTEX CORPORATION                                   Civil Action No. 2:18-cv-05623-MMB

                   Plaintiff,                        Hon. Michael M. Baylson

       v.

NIKE, INC.,

                   Defendant.


              THIRD NOTICE OF APPEAL BY LONTEX CORPORATION

       PLEASE TAKE NOTICE that plaintiff Lontex Corporation (“Lontex”) hereby appeals to

the United States Court of Appeals for the Third Circuit from:

       1.      The District Court’s March 3, 2022 Order Re: Post-Trial Motions, denying

disgorgement of profits and a new trial on damages, ECF No. 392 (Order) and ECF No. 391

(Opinion), including all adverse orders incorporated therein.

       2.      The District Court’s April 28, 2022 Amended Judgment (Corrected), ECF No.

407, the April 18, 2022 Amended Judgment, ECF No. 403, the October 29, 2021 Judgment, ECF

No. 364, and all intermediate, adverse orders thereon including but not limited to evidentiary

rulings during trial and the District Court’s June 10, 2019 Order, granting Nike’s partial motion

to dismiss with prejudice and denying leave to amend, ECF No. 38 (Order) and ECF No. 37

(Opinion).
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Dated:       June 1, 2022               TROUTMAN PEPPER HAMILTON
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                                  CERTIFICATE OF SERVICE

       I hereby certify that on June 1, 2022, a true and correct copy of the foregoing was filed

electronically and served by mail on anyone unable to accept electronic filing. Notice of this

filing will be sent via e-mail to all parties by operation of the court's electronic filing system or

by mail to anyone unable to accept electronic filing as indicated on the Notice of Electronic

Filing. Parties may access this filing through the Court's CM/ECF System.



                                                /s/ Ben L. Wagner
                                                Ben L. Wagner




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